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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

RICHARD STALONS, et al,                          §
                                                 §
        Plaintiffs,                              §
VS.                                              §   CIVIL ACTION NO. 4:18-CV-02453
                                                 §
HOUSTON CHRONICLE, et al,                        §
                                                 §
        Defendants.                              §

                                      NOTICE OF SETTING

       The parties are hereby notified that a status conference regarding docket call is set for

January 7, 2019 at 9:00a.m. and will be handled as a telephone conference. The parties are

directed to contact the Court at the number provided in order to participate in the conference call.



                              Conference number: 713-250-5126

                              Conference ID: 45126#

                              Conference Password: 13579#




Date: January 7, 2019                                        DAVID BRADLEY, CLERK

                                                             By: C. Horace, Case Manager to
                                                                 Judge Kenneth M. Hoyt




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